Case:16-17141-JGR Doc#:99 Filed:08/28/18              Entered:08/28/18 10:11:32 Page1 of 3




                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:
                                                               Case No. 16-17141-JGR
Dennis K. Obduskey,
       Debtor                                                         (Chapter 13)

Wells Fargo Bank, N.A.,                             Honorable Judge Joseph G. Rosania Jr.

v.

Dennis K. Obduskey, Debtor; and Douglas B.
Kiel, Chapter 13 Trustee



                           LIST OF WITNESSES AND EXHIBITS



        Wells Fargo Bank, N.A. (Movant), through undersigned counsel, hereby designates the
following witnesses and exhibits for the hearing on Movant’s Objection to Confirmation (Docket
54 filed July 5, 2017) currently scheduled for August 29, 2018 at 9:00 a.m. in Courtroom B.

                                          WITNESSES
Movant may call any or all of the following witnesses:
  1. Debtor, if present
  2. Any witnesses endorsed by Debtor
  3. Any witnesses needed for rebuttal

                                            EXHIBITS
Movant intends to introduce as exhibits at trial those exhibits enumerated in Attachment 1,
attached hereto and incorporated herein.

Dated this 28th day of August, 2018.

                                                McCarthy & Holthus, LLP


                                            By: /s/ Ilene Dell'Acqua


                                                1
                                                                                      File No. CO-16-128403
                                                      List of Witnesses and Exhibits, Case No. 16-17141-JGR
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                                     Holly Shilliday, Esq. Atty. Reg. No. 24423
                                     Ilene Dell'Acqua, Esq. Atty. Reg. No. 31755
                                     7700 E. Arapahoe Road, Ste. 230
                                     Centennial, CO 80112
                                     Telephone: (866) 894-7369
                                     E-mail: idellacqua@mccarthyholthus.com;

                                     Attorneys for Wells Fargo Bank, N.A.




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                                                                           File No. CO-16-128403
                                           List of Witnesses and Exhibits, Case No. 16-17141-JGR
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       Debtor                                                       (Chapter 13)

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v.

Dennis K. Obduskey, Debtor; and Douglas B.
Kiel, Chapter 13 Trustee


                                     ATTACHMENT 1
                                EXHIBITS FOR HEARING


Submitted by: McCarthy & Holthus, LLP, Attorney for Wells Fargo Bank, N.A. (Movant)

Movant’s Objection to Confirmation (Docket 54 filed July 5, 2017) currently scheduled for
August 29, 2018 at 9:00 a.m. in Courtroom B.

Exhibit Description                                   Offered Admitted Additional
Number                                                (Y/N)   (Y/N)    Comments
1       Proof of Claim 1-1 filed 8/3/2016
2       Amended Proof of Claim 1-2 filed
        6/12/2017
3       Debtor’s Schedules I & J
4       Payment History




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                                                                                    File No. CO-16-128403
                                                    List of Witnesses and Exhibits, Case No. 16-17141-JGR
